IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

RICHARD G. CONVERTINO

UNITED STATES DEPARTMENT OF JUSTICE,

et al.

Plaintiff, Civil Action No. 04-00236 (RCL)

V.

Defendants.

 

DECLARATION OF JONATHAN TUKEL

JONATHAN TUKEL declares and states as follows:

1.

In connection with my employment at the United States Attorney’s Office for the Eastern
District of Michigan, I was provided with a Department of Justice (“DOJ”) electronic
mail account with the following address: Jonathan.Tukel@usdoj.gov.

I used my DOJ-provided electronic mail address to send and receive correspondence
relating to my job responsibilities and personal correspondence, as permitted by the
DOJ’s policies concerning electronic mail and Internet use. (Relevant policies attached
hereto as Exhibits A through C).

At all times, J was issued a DOJ computer for my use in the office, and which also could
be used as a laptop at home and while travelling. When used either inside or outside the
office, the computer could access the DOJ email system.

At all times, my electronic mail was password protected (see Exhibit D, Appendix A);
thus, no third parties could access any material in my electronic mail other than through a
collection of data from DOJ’s electronic servers. DOJ Information Technology personnel
accessed my DOJ-issued computer in connection with maintaining and upgrading the
DOJ’s electronic systems. However, I understand that performing systems maintenance
and upgrades does not involve accessing personal files, including electronic mail.

I retained Cadwalader, Wickersham & Taft LLP (“Cadwalader”) in 2004 in anticipation
of potential litigation.

Between August 2004 and December 2004, I communicated directly with my personal
counsel, James Robinson, Michael Horowitz, and Adam Lurie of Cadwalader using my
DOJ-provided electronic mail address (Jonathan. Tukel@usdoj.gov).
10.

11.

12.

13.

14.

15.

All communications sent via Jonathan. Tukel@usdoj.gov to Messrs. Robinson, Horowitz,
and Lurie (or any other representative of Cadwalader) are privileged communications
which directly relate to the issues in the instant lawsuit.

I have not shared any communications sent via Jonathan.Tukel@usdoj.gov to Messrs.
Robinson, Horowitz, or Lurie (or any other representative of Cadwalader) with third
parties, including non-DOJ persons.

I have not waived the attorney-client privilege that exists among Messrs. Robinson,
Horowitz, Lurie and myself (and any other representatives of Cadwalader).

I deleted all electronic mail sent or received from Messrs. Robinson, Horowitz, and Lurie
(or any other representative of Cadwalader) from my electronic mail inbox immediately
after reading it, and it would have been my practice to empty the electronic trash bin
where deleted messages are temporarily stored. Thus, I was unaware that copies of
privileged communications between Cadwalader and myself were located in any DOJ
electronic system until I was notified by defense counsel in April 2009 that such
correspondence was collected.

I have never provided (or been asked to provide) my DOJ-issued computer to anyone
within the DOJ, including anyone in the United States Attorney’s Office for the Eastern
District of Michigan, DOJ Criminal Division, Executive Office of U.S. Attorneys,
Executive Office of U.S. Trustees, or Assistant Attorney General for Administration.

I am not aware that my electronic mail sent from Jonathan.Tukel@usdoj.gov was
monitored by the DOJ, as described in DOJ policies, even though DOJ policy permits
monitoring under certain circumstances. (See Exhibits A through C).

I am not aware that, in practice, the DOJ randomly audits or monitors (as described in
DOJ policies) employees’ DOJ-issued computers to monitor electronic mail even though
DOJ policy permits monitoring for certain purposes. (See Exhibits A through C).

I was not informed that my electronic mail, sent via Jonathan.Tukel@usdoj.gov, was
being collected by anyone within the DOJ prior to such a collection.

At all times, I took reasonable steps to ensure the confidentiality of my electronic mail,
including all electronic mail exchanged between Cadwalader and myself.

I declare under penalty of perjury that the foregoing is true and correct. Executed on July 31,

2009.

/s/ Jonathan Tukel
Exhibit A
to Declaration of Jonathan Tukel dated July 31, 2009
7/31/2009 Misuse of Email and Internet Privil...

US. Department of Justice

Washington, D.C. 20530

January 6, 2000

MEMORANDUM FOR JUSTICE MANAGEMENT DIVISION EMPLOYEES
FROM: STEPHEN R. COLGATE, Assistant Attorney General for Administration
SUBJECT: Misuse of Email and Internet Privileges

On several occasions I have written to all Justice Management Division (JMD) employees about the
appropriate use of the Internet. These memoranda were intended to apply to the use of email
systems, whether internal to the Department or over the Internet. The great majority of JMD
employees have clearly understood and complied with the guidance those memoranda offered.
Regrettably, a few of you have not.

I have recently become aware that a significant number of offensive electronic messages, some
sexually explicit (including pornographic photographs) have been transmitted and received by
employees throughout JMD. We know who distributed the offensive material, and we know to
whom it was sent.

I am sending this memorandum to all of you as a caution: unrestricted access to the Internet and use
of government e-mail for non-work purposes are privileges we have extended to our workforce. In
return, we require that employees conduct themselves professionally and refrain from using
Department resources for offensive activities. The use of DOJ systems to view or transmit
sexually explicit material is strictly prohibited and we will not tolerate it. Those who
disregard this policy face disciplinary action, up to and including their removal from the
Federal service.

JCON is a Department of Justice system. When you use it, you are consenting to monitoring,
among other things, to identify improper use and to ensure the safety and security of our workplace.
We will be vigorous in our monitoring efforts. Moreover, we encourage employees who receive
offensive material over JCON from coworkers to report it to their supervisors. Supervisors should
bring such matters to the attention of ther Staff Directors and the Personnel Staff's Employee and
Labor Relations Section.

C:/.../project3.htm 1/1
Exhibit B
to Declaration of Jonathan Tukel dated July 31, 2009
DOJ 2740.1

 

USE AND MONITORING OF DOJ COMPUTERS AND COMPUTER SYSTEMS

Approval Date: Nov. 7, 2005

Approved By: PAUL R. CORTS
Assistant Attorney General
for Administration

Distribution: BUR/H-1; OBD/H-1; SPL-23

Initiated by: Justice Management Division
Office of General Counsel

1. PURPOSE. This order states the Department's policy on the use of
departmental computers and computer systems, the lack of
expectation of privacy with respect to such use, and authorized
monitoring or access to information on departmental computers and
computer systems.

2. SCOPE. This policy applies to all classified and unclassified
computer systems and peripheral devices (such as Personal
Electronic Devices) that are acquired for use by, owned,
operated, and managed by a departmental component. Use of a
privately-owned computer or device to connect to a departmental
computer system constitutes use of a departmental computer system
while connected. This policy applies to all Department
components. Computer systems owned by other agencies are
excluded from this policy and are governed by the policies of
those agencies.

3. POLICY.

a. Approval for Deviation from Policy. No component shall
issue any less restrictive policy with respect to the
acceptable and prohibited use of Department computer systems
and Department provided Internet resources (e.g., Internet
electronic mail, World Wide Web access, Department Internet
Web site) without written approval of the Department Chief
Information Officer. Components may issue further
implementing guidance on such use consistent with this
policy without written approval. Components may not deviate
from the monitoring and access provisions of this order.

(1)

Use of Department Computers and Computer Systems.

Use of departmental computer systems, including but not
limited to Internet e-mail, departmental e-mail, word
processing systems, and connections to Internet sites,
is subject to the same restrictions on use as are other
government-furnished resources provided for the use of
employees. (See 5 C.F.R. §§ 2635.101(b) (9) and
2635.704 (a) .)

While departmental computer systems are provided for
official use, some personal use of government computer
systems is permitted in accordance with existing policy
on personal use of government property, where there is
negligible cost to the government and no interference
with official business. (See 28 C.F.R. § 45.4.)

c. Prohibited Use of Department Computers and Computer Systems.

(1)

The following activities are prohibited on department
computers and computer systems during working or
non-working hours, except when conducting legitimate
departmental business with the express prior permission
of the employee's supervisor:

(a) Use of Internet sites that result in an additional
charge to the government.

(b) The obtaining, viewing, or transmitting of
sexually explicit material, contraband, or other
material inappropriate to the workplace.

{c) Use for other than official governmental business
that results in operational slowdowns or delays in
conducting departmental business (€.g., mass
mailings or sending or downloading large files
such as programs, pictures, video files, or
games).

(d) Any otherwise prohibited activity, such as sending
out solicitations or engaging in prohibited
political activity.
(2) Downloading and/or installing any program, software or
executable file on department computers is prohibited
unless approved in accordance with component IT
security policy.

(3) Employees may not use department computers or computer
systems in a way that infringes any copyright, patent,
trademark, trade secret or other proprietary right of
any party. Further guidance on copyright will be
addressed in separate Department policy.

No Expectation of Privacy. Individual employees should NOT
expect privacy in the use of government computers or
computer systems. The Department may access e-mail messages,
files, records, or other documents on government computer
systems whenever it has a legitimate governmental purpose
for doing so.

Monitoring or Access to E-mail or Documents on Computer
Systems. Use of departmental computer systems constitutes
consent to monitoring.

(1) Authorized Access. Monitoring and accessing employees'
e-mail messages, Internet activities, documents, files,
or other use of departmental computer systems that are
restricted by a password or other security mechanism
may only be done for authorized purposes. Accessing
shared storage (i.e., a public or a shared server disk
drive) does not constitute accessing another employee's
computer system.

(2) Authorized Purposes for Monitoring or Access include:
(a) For system administration and system security.
(b) For investigatory purposes by the Office of
Professional Responsibility, the Office of the
Inspector General, the Federal Bureau of

Investigation, or the Criminal Division.

(c) In response to a court order, grand jury subpoena,
or search warrant.

(d) In order to prevent death or serious injury to any
person.

(3) Authorizing Officials. Access to an employee's
computer system for any other reason, such as for
suspected misconduct not connected with an official
investigation by one of the offices listed above, must
be authorized by:

(a) The head of the Bureau where the employee works,
for Bureau personnel.

{b) The head of the Executive Office of U.S. Attorneys
{EOUSA), for EOUSA personnel.

(c) The head of the Executive Office of U.S. Trustees
(EOUST), for EOUST personnel.

(d) The head of the National Drug Intelligence Center
(NDIC), for NDIC personnel.

(e) The Assistant Attorney General for Administration
for all other components.

This authority may not be delegated below the level of
a principal deputy.

(4) Notification of Monitoring. All components are
required to provide adequate notice to their employees
that their use of the departmental computer system
constitutes consent to monitoring. The Standard
Warning Banner promulgated by the Department's Chief
Information Officer provides such adequate notice.

(5) Employee Activities. Nothing in this policy creates
any enforceable rights; however, unauthorized use or
monitoring or improper access to an employee's computer
system may result in disciplinary action. Employees are
prohibited from accessing the e-mail, electronic files
or documents, or otherwise monitoring the online
activities of another employee except in accordance
with this policy.

/s/PAUL R. CORTS
Assistant Attorney General
for Administration
Exhibit C
to Declaration of Jonathan Tukel dated July 31, 2009
DOJ 2740.1A

 

USE AND MONITORING OF DOJ COMPUTERS AND COMPUTER SYSTEMS

Approval Date: December 2, 2008

Approved By: Lee J. Lofthus
Assistant Attorney General
for Administration

Distribution: BUR/H-1; OBD/H-1; SPL-23

Initiated by: Justice Management Division
Office of General Counsel

1. PURPOSE. This order states the Department's policy on the
use of departmental computers and computer systems, the
lack of expectation of privacy with respect to such use,
and authorized monitoring or access to information on
departmental computers and computer systems.

2. SCOPE. This policy applies to all classified and
unclassified computer systems and peripheral devices (such
as Personal Electronic Devices) that are acquired for use
by, owned, operated, or managed by a departmental
component. A privately-owned computer or device that is
connected to a departmental computer system is considered
to be a departmental computer system while so connected.
This policy applies to all Department components.

3. POLICY.

a. Approval for Deviation from Policy. No component
shall issue any less restrictive policy with respect
to the acceptable and prohibited use of Department
computer systems and Department provided Internet
resources (e.g., Internet electronic mail, World Wide
Web access, Department Internet Web site) without
written approval of the Department Chief Information
Officer. Components may issue further implementing
guidance on such use consistent with this policy
Order DOJ 2740.1A

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without written approval. Components may not deviate
from the monitoring and access provisions of this
order.

b. Use of Department Computers and Computer Systems.

(1)

(2)

Use of departmental computer systems, including
but not limited to Internet e-mail, departmental
e-mail, word processing systems, and connections
to Internet sites, is subject to the same
restrictions on use as are other government -
furnished resources provided for the use of
employees. (See 5 C.F.R. § 2635.101(b) (9) and
2635.704.)

While departmental computer systems are provided
for official use, some personal use of government
computer systems is permitted in accordance with
existing policy on personal use of government
property, where there is negligible cost to the
government and no interference with official
business. (See 28 C.F.R. § 45.4.)

Cc. Prohibited Use of Department Computers and Computer
Systems.

(1)

The following activities are prohibited on
department computers and computer systems during
working or non-working hours, except when
conducting legitimate departmental business with
the express prior permission of the employee's
Component Head, Deputy Component Head or Field
Office Head:

(a) Use of Internet sites that result in an
additional charge to the government.

(b) Using government office equipment for
activities that are illegal, inappropriate,
or offensive to fellow employees or the
public. Such activities include: hate
speech, or material that ridicules others on
the basis of race, creed, religion, color,
sex, disability, national origin, or sexual
orientation.
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(c)

(d)

(i)

The creation, download, viewing, storage,
copying, or transmission of sexually
explicit or sexually oriented materials or
materials related to illegal gambling,
illegal weapons, terrorist activities, and
any other illegal activities or activities
otherwise prohibited.

Use that could cause congestion, delay, or
disruption of service to any government
system or equipment, unless for legitimate
departmental business. For example,
electronic greeting cards, video, sound or
other large file attachments can degrade the
performance of the entire network, and
should not be viewed or sent on Department
computers. Accessing continuous data
streams (such as viewing streaming video or
listening to streaming audio/radio ona
media website) could also degrade the
performance of the entire network and is an
inappropriate use (except when access is
provided by the Department or is otherwise
authorized).

The creation, copying, transmission, or
retransmission of chain letters or other
unauthorized mass mailings regardless of the
subject matter.

Any use to circumvent security controls on
Department or other external systems.

Knowingly using anonymizer sites (anonymizer
Sites hide the user’s identity from the
Internet site being visited; however, in
doing so, they also bypass the blocking
mechanism designed to protect Department
systems from malicious Internet sites).

Knowingly visiting malicious resources or
sites.

Using peer-to-peer (P2P) file sharing sites
on the Internet (e.g., sites dedicated to
downloading audio or video files), or using
IP telephony sites.
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(j) Use for commercial purposes or in support of
"for-profit" activities or in support of
other outside employment or business
activity (e.g., consulting for pay, sales or
administration of business transactions,
sale of goods or services).

{k) Any otherwise prohibited activity, such as
sending out solicitations, participating in
any lobbying activity, or engaging in
prohibited political activity.

(1) Use for posting agency information to
external newsgroups, bulletin boards or
other public forums without authority. This
includes any use that could create the
perception that the communication was made
in one’s official capacity as a Federal
Government employee, unless appropriate
Agency approval has been obtained, or uses
at odds with the agencies mission or
positions.

(m) Downloading, exchanging, e-mailing, or
otherwise using or making available any
material (such as computer software or
music) in a way that infringes upon any
copyright, patent, trademark, trade secret
or other proprietary or privacy right of any

party.

(2) Downloading and/or installing any program,
software or executable file on department
computers is prohibited unless approved in
accordance with component IT security policy.

d. Proper Representation It is the responsibility of
employees to ensure that they are not giving the false
impression that they are acting in an official
capacity when they are using government office
equipment for nongovernment purposes. If there is
expectation that such a personal use could be
interpreted to represent an agency, then an adequate
disclaimer must be used. One acceptable disclaimer is

“The contents of this message are mine personally
and do not reflect any position of the Government or
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my agency.” The Standards of Conduct states - “.an
employee shall not use or permit the use of his
Government position or title or any authority
associated with his public office in a manner that
could reasonably be construed to imply that his agency
or the Government sanctions or endorses his personal
activities...” (5 CFR § 2635.702(b)).

e. No Expectation of Privacy. Individual employees
should NOT expect privacy in the use of government
computers or computer systems. The Department may
access e-mail messages, files, records, or other
documents on government computer systems whenever it
has a legitimate governmental purpose for doing so.

£. Monitoring, Disclosing, or Accessing E-mail or
Documents on Computer Systems. Use of departmental
computer systems constitutes consent to monitoring and
disclosure of information stored on or transiting the
departmental computer system as provided below. The
Department routinely conducts monitoring and
intercepts communications for security purposes and to
detect improper use. Such monitoring and interception
includes the use of software tools that examine the
content of Internet communications and email, and
block access to known or suspected malicious Internet
sites. The Department may block or otherwise prevent
any improper use or activity prohibited in section
3.c. above.

(1) Authorized Access. Monitoring, disclosing, and
accessing another employee’s e-mail messages,
Internet activities, documents, files, or other
information stored on or transiting the
departmental computer system may only be done for
authorized purposes. Accessing shared storage
(i.e., a server or disk drive intended for shared
or public access) does not constitute accessing
another employee's computer system.

(2) Authorized Purposes for Monitoring, Disclosing,
or Accessing:

(a) For system administration and system
security.
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USE AND MONITORING OF DOJ COMPUTERS AND COMPUTER SYSTEMS

(3)

(4)

(b) For investigatory purposes by, or as
authorized by, the Office of Professional
Responsibility, the Office of the Inspector
General, the Federal Bureau of
Investigation, or the Criminal Division.

(c) In response to a court order, grand jury
subpoena, or search warrant.

(d) In order to prevent death or serious injury
to any person.

Authorizing Officials. Access to an employee's
computer system for any other reason, such as for
suspected misconduct not connected with an
official investigation by one of the offices
listed above, must be authorized by:

(a) The head of the Bureau where the employee
works, for Bureau personnel;

{b) The head of the Executive Office for U.S.
Attorneys, for U.S. Attorneys personnel;

(c) The head of the Executive Office for U.S.
Trustees (EOUST), for EOUST personnel;

(d) The head of the National Drug Intelligence
Center (NDIC), for NDIC personnel; or

(e) The Assistant Attorney General for
Administration for all other components.

This authority may not be delegated below the
level of a principal deputy.

Notification of Monitoring and Disclosure. All
components are required to provide adequate
notice to their employees that their use of the
departmental computer system constitutes consent
to monitoring and disclosure. The Standard
Warning Banner promulgated by the Department’s
Chief Information Officer provides such adequate
notice.

Employee Activities. Nothing in this policy
creates any enforceable rights; however,
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USE AND MONITORING OF DOJ COMPUTERS AND COMPUTER SYSTEMS

unauthorized use or monitoring or improper access
to an employee's computer system may result in
disciplinary action or criminal prosecution.
Employees are prohibited from accessing the e-
mail, electronic files or documents, or otherwise
monitoring the online activities of another
employee except in accordance with this policy.

g. Sanctions for Misuse. Unauthorized or improper use of
Department office equipment could result in loss of
use or limitations on use of equipment, disciplinary
or adverse actions, and/or criminal penalties.

/s/ Lee J. Lofthus
Assistant Attorney General
for Administration
Exhibit D
to Declaration of Jonathan Tukel dated July 31, 2009
UNITED STATES ATTORNEYS OFFICE

Justice Consolidated Office Network (JCON I)

Security Documentation:

System Security Plan

April 21, 2000
Revised: June 14, 2000

LIMITED OFFICIAL USE

 
US Attorneys Office System Security Plan

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APPENDIX A: Rules of Behavior

Automated Information Systems Security Principles

VIOLATION OF THESE RULES MAY
RESULT IN DISCIPLINARY ACTION

General Principles

The following principles of behavior apply to all EOUSA employees, and to personnel supplying
IRM services and using EOUSA's information resources, e.g., contractors and volunteers. Because
written guidance cannot cover every contingency, personnel are asked to go beyond the stated
principles, using their best judgement and highest ethical standards to guide their actions. Personnel
must understand that these principles are based on Federal laws, regulations and DOJ Orders. As
such, there are consequences for non-compliance with principles of behavior. Depending on the
severity of the violation, at the discretion of management and through due process of the law,
consequences can include: suspension of access privileges, reprimand, suspension, demotion,
removal, and criminal and civil penalties.

1. Accountability: Employees must be accountable for their actions and responsibilities related
to information resources entrusted to them.

2. Confidentiality: Employees must protect sensitive information from disclosure to
unauthorized individuals or groups.

3. Passwords and User IDs: Employees must protect information security through effective
use of user IDs and passwords. Each system user will be assigned a unique personal identifier and

password that shall be used to establish all personal accounts and access privileges for the individual.
Protect your passwords!

4. Hardware: Employees must protect computer equipment from damage, abuse, and
unauthorized use. This includes DOJ-owned hardware located at employees’ place of residence and
portable personal computers used for business while on travel.

5. Reporting: Employees must report security violations and vulnerabilities to their office’s
Computer Systems Security Officer (CSSO).

6. Privileged Users: Privileged users must perform their duties meticulously and reliably in
order to preserve information security. Privileged users include: system administrators; computer
operators; system engineers (those with control of the operating system); network administrators;
those who have access to change control parameters for equipment and software; database
administrators; those who control user passwords and access levels; and troubleshooters/system
maintenance personnel.

7. Work at Home And Other Remote Users: Remote users must establish security standards
at their workplace sufficient to protect hardware, software, and information. This includes having

 

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only those resources you really need and have authority to use; establishing a thorough understanding
and agreement with your supervisor as to what your security responsibilities are; using software
according to licensing agreements; ensuring that sensitive information that is downloaded is properly
safeguarded, and that dial-in access is secure; and being alert for anomalies and vulnerabilities,
reporting these to their CSSO, and seeking advice when necessary.

8. Users of Personal Information: Users must acquire and use personal information only in
ways that respect an individual's privacy. This includes: properly destroying personal information

contained in hard copy or electronic format; and ensuring that personal information is accurate,
timely, complete, and relevant for the purpose which it is collected, provided, and used.

Automated Information Systems Security Rules

These rules of behavior are based on the general principles of behavior.

1. Official Business

a. Do not steal hardware, software, information, or equipment.
b. Do not develop computer programs for non-work purposes.
c. Limit use of the computer for non-work purposes to non-business hours.

[Justice Property Management Regulation (JPMR), 41 CFR pt 28 allows personal
use of government equipment, as long as there is negligible cost to the department
and it does not interfere with official business. Furthermore, the regulation goes on
to state: “In using government property, employees should be mindful of their
responsibilities to protect and conserve such property and to use official time in an
honest effort to perform official duties.” (Emphasis added).

2. Access
a. Only use data for which you have been granted authorization.
b. Do not retrieve information from a system for someone who does not have authority

to access the information. Only give information to people who have access
authority and who need the information for their jobs.

c. Abide by procedures governing the channels for requesting/disseminating
information.

d. Limit the number of people who can access your files/data.

e. Do not access external computer systems (such as bulletin boards) unless necessary
to perform an official duty.

f. Do not attempt to gain access to information to which you do not have authority.

g. Use access control features such as screen saver passwords and password protecting
highly sensitive files.

 

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3. Integrity

a. Discontinue use of any PC or LAN system or software that show indications of being
infected with a virus.
b. Protect against viruses and similar malicious programs. Use only authorized

software; do not use shareware, public domain software, or similar programs unless
they are authorized.

Never enter unauthorized, inaccurate, or false information.

Do not manipulate information inappropriately.

Create only authorized records or files.

Avoid "data diddling."

Scan all files and disks for viruses before use, especially if they are received from
external sources.

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4. Availability

a. Plan for contingencies such as disaster, loss of information, and disclosure of
information by preparing alternate work strategies and recovery mechanisms.
Make backups of hard drive files on a regular basis.

Write protect backups.

Store backups away from the originals.

Keep storage media away from devices that produce magnetic fields.

Protect disks from food and drink spills.

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5. Hardware/Software

a. Safeguard computer equipment against waste, loss, abuse, unauthorized use, and
misappropriation.

Only use equipment for which you have been granted authorization.

Do not eat, drink, or smoke near computer equipment and media.

Do not store combustible materials near a computer.

Do not remove a PC or other computer hardware from EOUSA premises without a
property pass.

Only remove computer equipment from EOUSA premises for official purposes.
Do not allow someone to perform maintenance without proper identification.

Only use software for which you have been granted authorization.

Do not install unauthorized or public domain software without the approval of your
systems administrator.

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6. Reporting

Report all security violations, incidents, and vulnerabilities to your CSSO.

7. P rivileged Users, e.g., Systems Administrators, Case Managers, Database Administrators, Systems Engineers, etc.

a. Protect the supervisor or root password at highest level demanded by the sensitivity
level of the system.

b. Do not develop programs for non-work purposes.

c. Help train users on appropriate use and security of system.

d. Watch for unscheduled or unauthorized programs running on a recurring basis.

e. Report all security incidents to the CSSO and the EOUSA’s Security Programs
Manager (SPM).

f. Track all security incidents occurring within your area of responsibility.

g Take action to reduce damage caused by security incidents, as appropriate, e.g., lock
up property, log off of a terminal, and disconnect a PC with a virus from the LAN.

h. Establish a firewall or other means of protection, 1.e., separate server, for all servers
connected to publicly accessible networks.

i. Establish security measures to ensure integrity, privacy, and availability of
information on publicly accessible systems.

j. Establish virus protection for servers that are publicly available.

8. Users of Public Access Systems, e.g , Internet, Court Systems, etc.

a. Do not transmit Limited Official Use or other highly sensitive information across
public access systems.

b. Use virus protection software when receiving information from a public access
system.

C. Ensure that information placed on a public access system presents a professional
image.

d. Ensure that information placed on a public access system is up-to-date, accurate, and
true.

€. Ensure that information placed on a public access system reflects the policies and
positions of the EOUSA and DOJ.

f. Do not distribute or receive documents via public access systems in violation of
copyright laws.

9. Managers
a. Notify SPM whenever an employee terminates or changes status.
b. Ensure continued availability of data when a employee terminates by assisting the

CSSO with completing the Departing Employees/Contractors/Volunteers EOQUSA
Automation Clearance Form on the last day the departing individual is in the office.

 

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c. Counsel terminating employees on non-disclosure of confidentially-sensitive
information.

d. Request that the SPM or CSSO terminate access to information and computer
systems immediately in the event of an unfriendly separation.

e. Escort employee off the premises when there is likelihood of sabotage, as with an
unfriendly termination or separation.

f. Ensure employees get adequate and appropriate training to do their job.

 

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Exhibit B

to Jonathan Tukel’s
Motion and Memorandum of Law to Intervene
to Assert Various Privileges in Response to
Plaintiff's Motion to Compel Production from
Defendant United States Department of Justice
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

RICHARD G. CONVERTINO

Plaintiff, Civil Action No. 04-00236 (RCL)

Vv.

UNITED STATES DEPARTMENT OF JUSTICE,
et al.

Defendants.

 

NOTICE OF APPEARANCE

NOTICE IS HEREBY GIVEN that James K. Robinson of Cadwalader,
Wickersham & Taft LLP, enters his appearance on behalf of Jonathan Tukel in the above-

captioned action. All files, papers, and correspondence should be addressed to:

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Respectfully submitted this 31st day of July, 2009.

/s/ James K. Robinson

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